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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEW JERSEY


        UNITED STATES OF AMERICA                               CRIMINAL NO. 14-087 (JEI)            {Ofj
        v.                                                     ORDER OF INTERIM PAYMENT FOR
                                                               REPRESENTATION OF COUNSEL
        RAYSHELLSTRONG                                         PURSUANT TO THE CRIMINAL
                                                               JUSTICE ACT 18:3006(A)

               Because of the complexity of the case, the expected length of pretrial preparation, the

        length of the trial, and the anticipated hardsh~p of counsel in undertaking representation full-time

        for such a period without compensation, in accordance with section 23 0. 73.1 0 of the Guidelines

        for the Administration of the Criminal Justice Act, the following procedures for interim

        payments shall apply during the course of your representation in this case:

                                       1. SUBMISSION OF VOUCHERS

               Counsel shall submit to the Court Clerk, on a monthly and/or quarterly basis, an interim

        CJA Form 20 "Appointment of and Authority to Pay Court Appointed Counsel". Compensation

        earned and reimbursable expenses incurred shall be claimed on each interim voucher. The first

        interim voucher submitted shall reflect all compensation claimed and reimbursable expenses

        i~curred from the date of appointment to lj f 1 }/j                              .         and shall

        be submitted no later than    ll{/7I{ 1 L                                            ; thereafter, the
        vouchers shall be submitted quarterly according to the schedule outlined above. Each voucher

        shall be numbered in series in Box 22 and include the time period it covers in Box 19. All

        interim vouchers shall be supported by detailed and itemized time and expense statements.

        Chapter 2, Part C of the Guidelines for the Administration of the Criminal Justice Act outlines



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 the procedures and rules for claims by CJA attorneys and should be followed regarding each

 voucher.

        The Court will review the interim vouchers when submitted, particularly with regard to

 the amount of time claimed, and will authorize compensation to be paid for four-fifths (80%) of

 the approved number of hours. The Court will also authorize payment for all reimbursable

 expenses reasonably incurred.

        At the conclusion of representation, counsel should submit a final voucher seeking

 payment of the one-fifth (20%) balance withheld from the earlier interim vouchers. The final

 voucher shall be labeled as such in Box 22 and shall set forth in detail the time and expenses

 claimed for the entire case, including all appropriate documentation. After reviewing the final

 voucher, the Court will submit it to the Chief Judge of the Circuit or his or her designee for

 review and approval.

                                 2. REIMBURSABLE EXPENSES

        Counsel maybe reimbursed for out-of-pocket expenses reasonably incurred incident to

 representation. While the statute and applicable rules and regulations do not place a monetary

 limit on the amount of expenses that can be incurred, counsel should incur no single expense

 item in excess of$800 without PRIOR approval of the Court. Such approval may be sought by

 submitting the CJA 21 to the Clerk with supporting documentation attached if deemed necessary,

 stating the nature. of the expense, the estimated dollar cost and the reason the expense is

 necessary to the representation. An application seeking such approval may be filed in camera, if

 necessary. Upon finding that the expense is reasonable, the Court will authorize counsel to incur

 it. Recurring expenses, such as telephone c~lls, photocopying and photographs, which aggregate


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 more than $800 on one or more interim vouchers are not considered single expenses requiring

 Court approval.

        With respect to travel outside of the city-county-state for the purpose of consulting with

 the client or his or her former counsel, interviewing witnesses, etc., the $800 rule should be

 applied in the following manner. Travel expenses, such as, mileage, parking fees, meals and

 lodging, can be claimed as itemized expenses. Therefore, if the reimbursement for expenses

 relating to a single trip will aggregate an amount in excess of $800, the travel should receive

 PRIOR authorization of the Court. The following additional guidelines maybe helpful:

        (a)     Case related travel by privately owned automobile should be claimed per mile at

                the applicable rate (check with the Clerk's office for current rates), plus parking

                fees, ferry fees, and bridge, road and tunnel tolls. Transportation other than by

                privately owned automobile should be claimed on an actual expense basis. If

                travel is authorized, arrangements can be made at Goverruhent rates through

                National Travel Service. Please contact the CJA administrator in the

                Clerk's office for additional guidance. Air travel in "first class" is prohibited;

        (b)     Actual expenses incurred for meals and lodging while traveling during the course

                of representation must conform to the prevailing limitations placed upon travel

                and subsistence expenses of federal judiciary employees in accordance with

                existing government travel regulations. For specific details concerning high-cost

                areas, counsel should consult the Clerk; and

        (c)     Telephone toll calls, telegrams, photocopying and photographs can all be

                reimbursable expenses if reasonably incurred. However, general office overhead,


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                      such as rent, secretarial help and telephone service, is not a reimbursable expense,

                      nor are items of a personal nature. In addition, expenses for services of subpoenas

                      on fact witnesses are not reimbursable, but rather are governed by Rule 17

                      F.R.Crim.P. and 28 U.S.C.§1825.

                                3. FURTHER QUESTIONS OR GlJIDANCE

              Answers to questions concerning services under the Criminal Justice Act, can generally

       be found in (1) 18 U.S.C. 3006(A); (2) the Plan oftheUnited States District Court for the District

       ofNew Jersey; (3) Appendixlto the Criminal Justice Act Plan; and (4) Guidelines for the

      Administration of the Criminal Justice Act, published by the Administrative Office of the U.S.

       Courts. Should these references fail to provide the desired clarification or direction, counsel is

       directed to contact the Clerk's office, specifically, Anna Irwin, CJA Administrator at (609)

       989-2398 in Trenton.




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      DATE:         fO- Z,tj -/lj                    ~£:z:J
                                                     THOMAS I. VANASKI E, JUDGE
                                                     UNITED STATES COURT OF APPEALS
                                                     FOR THE THIRD CIRCUIT


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